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                     8                             UNITED STATES DISTRICT COURT
                     9                        CENTRAL DISTRICT OF CALIFORNIA
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                11       RG ABRAMS INSURANCE, and                 CASE NO.: 2:21-CV-194-FLA (MAAx)
                         ROBIN GOLTSMAN,
                12
                                     Plaintiffs,
                13                                                [PROPOSED] ORDER GRANTING
                              vs.                                 PLAINTIFFS / COUNTER-
                14                                                DEFENDANTS’ JOINT MOTION TO
                         THE LAW OFFICES OF C.R.                  MODIFY SCHEDULING ORDER
                15       ABRAMS, et al.
                16
                                     Defendants.
                17
                18       AND RELATED CROSS-
                         ACTIONS
                19
                20
                               Pursuant to Plaintiffs / Counter-Defendants’ Motion, and for good cause
                21
                         shown, the dates set forth in the Scheduling Order are modified as follows:
                22
                                     Previous Dates                               Modified Dates
                23
                         Amended Pleadings: 5/3/2021                 Amended Pleadings: 11/3/2021
                24
                         Close of Fact Discovery: 5/3/2021           Close of Fact Discovery: 11/3/2021
                25
                         Designation of Experts: 7/2/2021            Designation of Experts: 1/3/2022
                26
                         Rebuttal Reports: 8/2/2021                  Rebuttal Reports: 2/2/2022
                27
                         Close of Expert Discovery: 9/1/2021         Close of Expert Discovery: 3/1/2022
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B URKE , W ILLIAMS &
   S ORENSEN , LLP
  ATTORNEYS AT LAW                                                 -1-
      OAKLAND
                         [PROPOSED] ORDER                                         Case No.: 2:21-CV-194-FLA (MAAx)
                 Case 2:21-cv-00194-DFM        Document 84-5 Filed 03/05/21   Page 2 of 2 Page ID
                                                        #:142


                     1
                         Dispositive Motion: 10/8/2021           Dispositive Motion: 4/8/2022
                     2
                         Pretrial Conference: 2/4/2022 at 3:00 Pretrial Conference: 8/4/2022 at 3:00
                     3
                         p.m.                                    p.m.
                     4
                         Trial: 2/22/2022 at 8:00 a.m.           Trial: 8/22/2022 at 8:00 a.m.
                     5
                     6          IT IS FURTHER ORDERED that Defendants shall reimburse Plaintiffs
                     7   their attorneys’ fees incurred in connection with their Motion in the amount of
                     8   $4,295.00 [$                ].
                     9          IT IS SO ORDERED.
                10
                                Dated:
                11                                        UNITED STATES DISTRICT JUDGE
                                                          FERNANDO L. AENLLE-ROCHA
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B URKE , W ILLIAMS &
   S ORENSEN , LLP
  ATTORNEYS AT LAW                                             -2-
      OAKLAND
                         [PROPOSED] ORDER                                     Case No.: 2:21-CV-194-FLA (MAAx)
